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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION

             DINATEC (DIVERSIFIED
             NUTRI-AGRI TECHNOLOGIES),
             INC. and ORGANIC CHEMICAL
             SOLUTIONS, LLC,
                                                         CIVIL ACTION NO.
                   Plaintiffs,                           2:15-CV-240-RWS

             v.

             SUSTAINABLE COMMUNITY
             DEVELOPMENT, LLC, d/b/a
             SCD PROBIOTICS,

                   Defendant.



                                                ORDER

                   Counsel for Plaintiffs has advised the Court that new counsel will be

             substituted for Plaintiffs within 10 days. Upon entry of new counsel, counsel

             for all parties are Ordered to confer and submit to the Court a proposed

             schedule for completion of discovery. The schedule shall be submitted within

             14 days of new counsel's entry into the case. If counsel are unable to agree on

             a schedule, they may request a conference with the Court.




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(Rev.8/82)
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               SO ORDERED, this /'/ day ofNovember, 2017.




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(Rev.8/82)
